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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York


                                                    United States District Courthouse
                                                    300 Quarropas Street
                                                    White Plains, New York 10601


                                                     September 28, 2021

VIA ECF

The Honorable Andrew E. Krause
United States Magistrate Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     United States v. Kriscia Vasquez, 21 Mag. 9156 (AEK)

Dear Judge Krause:

        On September 21, 2021, the Court held an initial appearance in the above-referenced matter
and, at defense counsel’s request, set a preliminary hearing date of October 5, 2021, i.e., 14 days
from the defendant’s initial appearance. The Government respectfully moves, with the consent of
defense counsel, to continue the preliminary hearing date to October 20, 2021, i.e., to the
Wednesday before the 30th day after the defendant’s initial appearance. There is good cause to
grant the requested continuance because the parties have begun discussions concerning a possible
disposition of this case without trial, and those discussions are ongoing.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney

                                             By:     /s/ Qais Ghafary
                                                     Qais Ghafary
                                                     Assistant United States Attorney
                                                     Tel: (914) 993-1930


Cc: Elizabeth K. Quinn, Esq. (via ECF)
